                      Case 3:10-cr-00014-WKW-SRW Document 195 Filed 10/15/10 Page 1 of 6
A0 245B       (Rev. 09/08) Judgment in a Criminal Case
              Sheet 1



                                          UNITED STATES DISTRICT COURT
                                                         MIDDLE District of ALABAMA

              UNITED STATES OF AMERICA                                     )        JUDGMENT IN A CRIMINAL CASE
                                  V.                                       )
                                                                           )
               PEDRO RODRIGUEZ-PALMA                                       )        Case Number:            3:1 Ocr 14-006-WKW
                                                                           )                                (WO)
                                                                           )
                                                                           )        USM Number:             12886-002
                                                                           )
                                                                                    IjptC. Halstrorn
                                                                                    Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)           I and 2 of the Indictment on May 10, 2010
E pleaded nob contendere to count(s)
  which was accepted by the court.
LII was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                            Offense Ended             Count
21:841 (a)( 1) and               Possession with Intent to Distribute Marijuana and                           2/18/2010
18:2                             Aiding and Abetting
21:846                           Conspiracy to Possess with Intent to Distribute Marijuana                    2/18/2010                     2



       The defendant is sentenced as provided in pages 2 through                   6 - - of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
LI The defendant has been found not guilty on count(s)
LI Count(s)                                               LI is    LI are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           October 6, 2010
                                                                           Date of Imposition of Judgment




                                                                           Signature of Ju ge




                                                                           Name and Title ofJudge



                                                                           Date
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AO 245B     (Rev. 09/08) Judgment in Criminal Case
            Sheet 2 - Imprisonment

                                                                                                        Judgment - Page   2   of   6
DEFENDANT:                     PEDRO RODRIGUEZ-PALMA
CASE NUMBER:                   3:lOcrl4-006-WKW


                                                               IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

46 Months. This sentence consists of 46 months on each of Counts 1 and 2 to be served concurrently.



    X The court makes the following recommendations to the Bureau of Prisons:

          The Court recommends that defendant be designated to a facility where intensive drug treatment and vocational and educational
          training are available.



    X The defendant is remanded to the custody of the United States Marshal.

    o The defendant shall surrender to the United States Marshal for this district:

          U at                                       El a.m.     0 p.m.        on

          El as notified by the United States Marshal.

    El The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          0 before2p.m.on
          0 as notified by the United States Marshal.
          0 as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                           to

                                                        with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL


                                                                            By_____ _____
                                                                                                  DEPUTY UNITED STATES MARSHAL
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AO 245B      (Rev. 09/08) Judgment in a Criminal Case
             Sheet 3 - Supervised Release
                                                                                                           Judgment—Page       3     of        6
DEFENDANT:                     PEDRO RODRIGUEZ-PALMA
CASE NUMBER:                   3:lOcrl4-006-WKW
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
3 Years. This term consists of 3 years on each of Counts 1 and 2 to run concurrently.

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, f applicable.)
X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, f applicable.)
X The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, (1 applicable.)

 D The defendant shall comply with the reiirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, etseq.)
     as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
     works, is a student, or was convicted of a qualifying offense. (Check, f applicable.)

 LI The defendant shall participate in an approved program for domestic violence. (Check, f applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
   I) the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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AO 245B     (Rev. 09/08) Judgment in a Criminal Case
            Sheet 3C - Supervised Release
                                                                                                        Judgment—Page         4   of       6
DEFENDANT:                  PEDRO RODRIGUEZ-PALMA
CASE NUMBER:                3:lOcrl4-006-WKW

                                          SPECIAL CONDITIONS OF SUPERVISION
Defendant shall participate in a program approved by the United States Probation Office for substance abuse, which may include testing to
determine whether he has reverted to the use of drugs. Defendant shall contribute to the cost of any treatment based on ability to pay and
the availability of third-party payments.
Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this court.
In light of defendant's illegal status, upon completion of the term of imprisonment, defendant shall be remanded to the custody of the
Bureau of Immigration and Customs Enforcement for deportation proceedings in accordance with the Immigration and Nationality Act. If
deported, (a) the term of supervision shall be non-reporting while defendant lives outside the United States; (b) defendant shall not illegally
reenter the United States; and (c) if defendant should reenter the United States during the term of supervised release, he shall report to the
nearest United States Probation Office within 72 hours of arrival.
                      Case 3:10-cr-00014-WKW-SRW Document 195 Filed 10/15/10 Page 5 of 6
AO 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties
                                                                                                       Judgment—Page        5   of        6
DEFENDANT:                         PEDRO RODRJGUEZ-PALMA
CASE NUMBER:                       3:lOcrl4-006-WKW
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                          Fine                                Restitution
TOTALS             $ 200.00                                           $                                   $


o The determination of restitution is deferred until                -. An Amended Judgment in a Criminal Case (AO 245C) will be entered
    after such determination.

 0 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                  Total Loss*                       Restitution Ordered                   Priority or Percenta2e




TOTALS                               $                                       $


0 Restitution amount ordered pursuant to plea agreement $

0 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 36 12(g).

0 The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      0 the interest requirement is waived for the            0 fine 0 restitution.
      0 the interest requirement for the              0 fine 0 restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 1 09A, 110, 11 OA, and 11 3A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 245B     (Rev. 09/08) Judgment in a Criminal Case
            Sheet 6 - Schedule of Payments
                                                                                                            Judgment - Page       6     of          6
DEFENDANT:                   PEDRO RODRIGUEZ-PALMA
CASE NUMBER:                 3:lOcrl4-006-WKW

                                                           SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A x Lump sum payment of$ 200.00                             -- - due immediately, balance due

            LI not later than                          .    - -  , or
            o in accordance                J C,             D, fl E, or o F below; or

 B     J Payment to begin immediately (may be combined with                   J C,         D, or o F below); or

C LI Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                             over a period of
       --         (e.g., months or years), to commence         -              (e.g., 30 or 60 days) after the date of this judgment;  or

 D LI Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                           over a period of
        -               (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment  to a
          term of supervision; or

 E U Payment during the term of supervised release will commence within                      (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F X Special instructions regarding the payment of criminal monetary penalties:

            Criminal monetary payments shall be made payable to the Clerk, U.S. District Court, Middle District of Alabama, P.O. Box 711,
            Montgomery, AL 36101.




Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financia'
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



LI Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




LI The defendant shall pay the cost of prosecution.

LI The defendant shall pay the following court cost(s):

LI The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
